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     Attorneys for Defendant
 7   NOVA SOUTHEASTERN UNIVERSITY
 8
                              UNITED STATES DISTRICT COURT
 9
                          SOUTHERN DISTRICT OF CALIFORNIA
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11
     LINDSEY MACK, an individual,            Case No.: 3:24-cv-1120 CAB VET
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13               Plaintiff,                  Hon. Cathy Ann Bencivengo, Dep. 15A
14         vs.                                DEFENDANT SOUTHEASTERN
15   NOVA SOUTHEASTERN UNIVERSITY, UNIVERSITY’S NOTICE OF MOTION
     a Private-Nonprofit Corporation;         AND MOTION TO DISMISS THE
16                                            COMPLAINT PURSUANT TO
     MICHELLE WOLFMAN, Professor;
     DONNA HILLIER, a Program Manager;        FEDERAL RULE OF CIVL
17
     KAREN GROSBY, Dean; JENNIFER             PROCEDURE 12(B)(6)
18   WILSON, Director of Disability Services;
                                              (Filed concurrently with Memorandum of
19   GEORGE HANBURY, President;               Points and Authorities and [Proposed]
     BENJAMIN JOHNSON, Chief Judicial         Order)
20   Officer; RODNEY DORVAL, Case
     Manager; KATIE TENNANT, Case             Hearing Date: August 9, 2024
21                                            Dept.: 15A
     Manager; JENNIFER RAMOS, Chief of
22   Staff; SHARI SAPERSTEIN, Vice
     President of Student Affairs; DENISE     PER CHAMBERS RULES, NO ORAL
23   CARRAZCO, Graduate Administrative        ARGUMENT UNLESS SEPARATELY
24   Assistant; DANIELLE MILLEN,              ORDERED BY THE COURT
     Professor; STEPHANIE AKI, Professor
25                                            Complaint filed: April 29, 2024
                  Defendants.                 Trial Date:        Not Set.
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                                                  DEFENDANT’S NOTICE OF MOTION
                                                AND MOTION TO DISMISS COMPLAINT
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 1   TO THE HONORABLE COURT AND PLAINTIFF IN PRO PER:
 2         NOTICE IS HEREBY GIVEN that on August 9, 2024, in Courtroom 15A of the
 3   United States District Court for the Southern District of California, Defendant NOVA
 4   SOUTHEASTERN UNIVERSITY (“Nova”) shall and hereby does bring this Motion to
 5   Dismiss Plaintiff LINDSEY MACK’s Complaint (“Motion”) with prejudice as to the First,
 6   Second, Third, Fourth, Fifth, Sixth, Seventh, Eighth, and Ninth causes of actions, pursuant
 7   to Rule 12(b)(6) of the Federal Rules of Civil Procedure.
 8         This Motion to Dismiss the Complaint is brought on the following grounds:
 9         Plaintiff’s First and Second causes of action should be dismissed for failure to state
10   a claim because Nova is a private university that is not governed by the Due Process Clause
11   of the Fourteenth Amendment and no statutory provisions or common law tort exists that
12   affords Plaintiff the right to seek monetary damages against Nova under Article I section
13   2(a) of the California Constitution.
14         Plaintiff’s Third cause of action should be dismissed for failure to state a claim
15   because there is no statute or common law that provides a cause of action for monetary
16   damages against a private university for violation of its own policies.
17         Plaintiff’s Fourth and Seventh causes of action should be dismissed for failure to
18   state a claim because Plaintiff has failed to plead what disability she had, that she was a
19   qualified individual under Section 502(a) of the Rehabilitation Act, or that the
20   accommodations offered by Nova were unreasonable under the circumstances.
21   Additionally, punitive and emotional damages are barred under Section 502.
22         Plaintiff’s Fifth cause of action should be dismissed for failure to state a claim
23   because the allegations in the complaint fail to meet the particularity requirement of Rule
24   9(b). Neilson v. Union Bank of Cal., 290 F. Supp. 2d 1101, 1141 (CD. Cal. 2003).
25         Plaintiff’s Sixth cause of action should be dismissed for failure to state a claim
26   because setting aside the fact that “administrative negligence,” is not a valid cause of
27   action, and the allegations equate to a claim of education malpractice, which is not
28   actionable. Peter W. v. San Francisco Unified Sch. Dist., 60 Cal. App. 3d 814, 825 (1976).
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                                                        DEFENDANT’S NOTICE OF MOTION
                                                      AND MOTION TO DISMISS COMPLAINT
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 1            Plaintiff’s Eighth cause of action should be dismissed for failure to state a claim
 2   because the allegations in the Complaint regarding the actions or inaction of Nova and each
 3   individual defendant do not amount to extreme and outrageous conduct.
 4            Plaintiff’s Ninth cause of action should be dismissed for failure to state a claim
 5   because Plaintiff fails to state a claim for fraud against Nova. Aleksick v. 7-Eleven, Inc.
 6   (2012) 205 Cal. App. 4th 1176, 1185 (“[w]hen a statutory claim fails, a derivative UCL
 7   claim also fails”).
 8            This Motion to Dismiss is based upon this Notice of Motion and Motion to Dismiss
 9   the Complaint, the Memorandum of Points and Authorities in Support, and upon such other
10   documents, evidence, and oral argument that may be made in support of this Motion, as
11   this Court may permit.
12
13   DATED: July 3, 2024                            JACKSON LEWIS P.C.
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15
                                                By: /s/ Sarah Raoof
16                                                  Nikki L. Wilson
                                                    Sarah Raoof
17
                                                    Attorneys for Defendant
18                                                  NOVA SOUTHEASTERN UNIVERSITY
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                                                         DEFENDANT’S NOTICE OF MOTION
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